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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 SOLISHUM SUMER SHIELDS,
                                                  DOCKET NO. 5:20-CV-02999-CDJ
                           Plaintiff              Honorable C. Darnell Jones, II.
               v.

 RYAN WIEGAND, ALEXANDER BARRY,                   CIVIL ACTION - LAW
 JOSHUA LINAMEN, JAMES WISNIESKI,
 NICHOLAS REGINELLA, COLTON
 DEMBERGER, OFFICER RHOADES,                      JURY TRIAL DEMANDED
 JOHN DOE, JOHN DOE, JOHN DOE
 and EAST LAMPETER TOWNSHIP,

                    Defendants

 BRIEF IN SUPPORT OF PARTIAL MOTION TO DISMISS OF DEFENDANTS RYAN
  WIEGAND AND EAST LAMPETER TOWNSHIP PURSUANT TO FR.C.P. 12(b)(6)


                                                   MARGOLIS EDELSTEIN



Date: April 12, 2021                        By:    ________________________
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             AND HAS PLED GUILTY      TO      RECKLESS
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             1. Whether Plaintiff's Claims Are Properly Analyzed Under
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             2. Whether Plaintiff’s Failure to Plead facts to support an
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                Claim Contained in Count I of the Complaint Given the
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             3. Whether Plaintiff’s Claims Arising from the Pursuit Should
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I.     FACTUAL AND PROCEDURAL HISTORY

       A.     OVERVIEW

       Plaintiff commenced this action by filing a Complaint with this Honorable Court on

or about June 9, 2020. See Doc. 2. After some initial proceedings, not relevant to the

instant motion, Plaintiff was permitted to file an Amended Complaint. In his Amended

Complaint, Plaintiff attempts to assert claims against East Lampeter Township

(“Township”) and one of its officers , Officer Ryan Wiegand (“Wiegand”), for violations of

his civil rights pursuant to 42 U.S.C. § 1983 that occurred during the course of a Police

pursuit and subsequent arrest. When referred to collectively, these Defendants are

identified as (“Moving Defendants”). Plaintiff’s claim against the Township is based upon

an alleged failure to train Wiegand that he claims led to a violation of his civil rights.

       Plaintiff also claims he was beaten after handcuffs were applied in support of his

claim that he was subjected to excessive force. Defendants strenuously deny this

assertion and further deny that Plaintiff was subjected to Excessive Force. However, at

this early stage of the proceeding, based upon the facts pled, Defendants do not seek

dismissal of this claim at this time. With respect to the other claims asserted against

Officer Wiegand, Moving Defendants assert that Plaintiff’s claims arising from the police

pursuit should be analyzed under the Fourteenth Amendment due process clause.

Under this standard, the Supreme Court has held that an intent to harm or worsen the

Plaintiff’s condition is required in order to state a claim. Plaintiff has failed to state any

facts that would support such a claim and, accordingly, this claim must fail as a matter

of law. Defendants are aware that some courts have applied a Fourth Amendment

analysis to a police pursuit case. Defendants assert that the same result should attain to
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Plaintiff’s pursuit claims regardless of the constitutional analysis applied. Finally, Officer

Wiegand asserts that the law was not so clearly established as to place him upon notice

that his conduct during the pursuit would violate the constitution.

       The Township asserts that Plaintiff’s claim against it is insufficient as a matter of

law. Additionally, Moving Defendants seek an Order dismissing Plaintiff’s claims

asserted under the Eighth Amendment as this Amendment is reserved for cruel and

unusual punishment that takes place after an individual has received process. As no

such allegation is made in Plaintiff’s Amended Complaint, this claim must fail as a

matter of law. Finally, Plaintiff has attempted to assert a punitive damage claim against

Defendant East Lampeter Township. The Township asserts that such claims are not

allowed as a matter of law.

       B.     FACTS PLED IN COMPLAINT

       Plaintiff originally commenced this action via Complaint filed on June 9, 2020.

Doc. 2. After a period of suspension, Plaintiff was permitted to reinstitute his claim via

Amended Complaint filed with this Honorable Court on or about March 29, 2021. See

Doc. 40. In his Amended Complaint, Plaintiff correctly observes that Officer Wiegand

was, at all times relevant hereto, a police officer for the Township. See Doc. 40 at

Paragraph 1.     Plaintiff also correctly observes that East Lampeter Township is a

municipality in the Commonwealth of Pennsylvania.             See Doc. 40, Paragraph 8.

Plaintiff alleges that on December 2, 2019, he was operating a motor vehicle at

approximately 11:55 p.m. in Lancaster, Pennsylvania. Id. at Paragraph 1. Plaintiff

alleges that he was followed by a vehicle operated by Officer Wiegand. Id. Plaintiff

alleges that Officer Wiegand drove "in an aggressive manner." Id. at Paragraph 12.



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Before commencing the pursuit, Plaintiff candidly concedes that Office Wiegand's

vehicle activated its flashing lights. Id. at Paragraph 8. Nevertheless, Plaintiff concedes

that he failed and refused to stop his vehicle despite the flashing lights.                       Id. at

Paragraphs 9-29.

        Plaintiff concedes that he continued to refuse to pull his vehicle over pursuant to

a lawful stop for over 15 minutes. Id. at Paragraph 19. Plaintiff also concedes that he

continued to flee even after his tires were “shredded” by “spike strips” that were laid

down in his path by the state police. Id. at Paragraph 20. Furthermore, Plaintiff admits

that even after his vehicle was disabled by a driving maneuver performed by the state

police, he continued to flee on foot from officers that he pleads were acting under

color of state law. Id. at Paragraphs 28 – 29. Notably, Plaintiff does not allege that the

vehicle operated by Defendant Wiegand ever came in contact with his vehicle. Despite

the foregoing, Plaintiff blames Defendants for the pursuit and any allegedly consequent

injuries.1

        Plaintiff concedes that he resisted arrest. Doc. 40 at Paragraph 32. Moreover,

the criminal pleadings arising from the instant pursuit, which are matters of public record

and over which this Honorable Court can take judicial notice in the context of a Motion

to Dismiss, reflect that Plaintiff pled guilty to multiple violations of the criminal code,

including fleeing or attempting to allude police officer pursuant to 75 P.S. 3733 (a). A




1 The "facts" set forth in this section are taken from Plaintiff's Complaint and are accepted as true for

purposes of this Motion. Many of these facts are disputed.


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true and correct copy of Plaintiff’s relevant criminal history is attached to Defendants’

Motion (document 43) as Exhibit A.2.

        75 P.S. 3733 (a) provides as follows:

                (a) Offense defined.-- Any driver of a motor vehicle who willfully fails or
                refuses to bring his vehicle to a stop, or who otherwise flees or attempts to
                elude a pursuing police officer, when given a visual and audible signal to
                bring the vehicle to a stop, commits an offense as graded in subsection
                (a.2)

Fleeing or attempting to allude a police officer when committed under the influence of a

controlled substance, and/or when a law enforcement officer is endangered by the

nature of the pursuit, is a third-degree felony. Plaintiff pled guilty to recklessly

endangering another person and to driving under the influence in violation of 75 P.S.

3802(d)(3). Id. These guilty pleas are not only matters of public record over which this

Honorable Court may take judicial notice, but also conclusively establish that Plaintiff’s

conduct was willful and reckless. Plaintiff concedes that he is currently serving jail time

in the Chester County Prison for his crimes “in relation to this matter.” Id. at Paragraph

46.

        Against the foregoing factual and procedural backdrop, Plaintiff alleges that his

Fourteenth Amendment due process rights and his rights under the Eighth Amendment

were violated by Officer Wiegand’s conduct. Additionally, Plaintiff alleges in conclusory

fashion, that the Township failed to adequately train Officer Wiegand. Because moving

Defendants have compared the allegations pled in Plaintiff’s Amended Complaint to the

applicable law and found several of Plaintiff’s claims to be fatally flawed, they have


. Although the focus of a motion to dismiss is upon the allegation set forth in the pleadings, matters of
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public record orders and exhibits attached to the complaint may also be considered. See, Oshiver v.
Levin, Fishbein Sedran & Berman, 38 F. 3d 1380, 1384 n. 2 (3d Cir. 1994) (citing Wright and Miller,
Federal Practice and Procedure:2D § 1357; Chester County Intermediate Unit v. Pennsylvania Blue
Shield, 896 F. 2d 808, 812 (3d Cir. 1990).

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timely filed a partial motion to dismiss Plaintiff’s claims based upon the Fourteenth and

Eighth Amendments and have further moved to dismiss all of Plaintiff’s claims against

East Lampeter Township. This Brief is offered in support of that Motion.

II.    STATEMENT OF QUESTIONS PRESENTED

             A.     WHETHER PLAINTIFF HAS FAILED TO STATE A
                    FOURTEENTH AMENDMENT CLAIM UPON WHICH
                    RELIEF CAN BE GRANTED BECAUSE PLAINTIFF ENGAGED
                    IN WILLFUL FLIGHT FROM AUTHORITES AND HAS PLED
                    GUILTY TO RECKLESS ENDANGERMENT AND DUI
                    ARISING FROM HIS CONDUCT DURING THE PURSUIT?

                           (Answered in the affirmative.)

                    1. Whether Plaintiff's Claims Are Properly Analyzed Under the
                       Fourteenth Amendment?

                           (Answered in the affirmative.)

                    2. Whether Plaintiff’s Failure to Plead facts to support an
                       Intent to Harm is Fatal to the Substantive Due Process
                       Claim Contained in Count I of the Complaint Given the
                       Rapidly Evolving Nature of the Pursuit ?

                           (Answered in the affirmative.)

                    3.     Whether Plaintiff’s Claims Arising from the Pursuit
                           Should Fail if Analyzed Under the Fourth Amendment
                           Reasonableness Standard?

                           (Answered in the affirmative.)

             B.     WHETHER THE LAW PERTAINING TO POLICE PURSUITS WAS
                    NOT SO CLEARLY ESTABLISHED SO AS TO DEPRIVE THE
                    INDIVIDUAL OFFICERS OF QUALIFIED IMMUNITY AS A
                    MATTER OF LAW?

                           (Answered in the affirmative.)

             C.     WHETHER PLAINTIFF'S CLAIMS AGAINST EAST LAMPETER
                    TOWNSHIP MUST FAIL AS A MATTER OF LAW?

                           (Answered in the Affirmative.)

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              D.     WHETHER PLAINTIFF’S CLAIMS ASSERTED UNDER THE
                     EIGHTH AMENDMENT FAIL TO STATE A CLAIM AS A MATTER
                     OF LAW?

                             (Answered in the Affirmative.)
II.    ARGUMENT

              A.     PLAINTIFF HAS FAILED TO STATE A SUBSTANTIVE DUE
                     PROCESS CLAIM UPON WHICH RELIEF CAN BE GRANTED
                     BECAUSE PLAINTIFF ENGAGED IN WILLFUL FLIGHT FROM
                     AUTHORITES AND HAS PLED GUILTY TO RECKLESS
                     ENDANGERMENT AND DUI ARISING FROM HIS CONDUCT
                     DURING THE PURSUIT.

              Standard of Review

       A motion to dismiss pursuant to the Federal Rules of Civil Procedure addresses

the legal sufficiency of the Complaint. In Reisinger v. Luzerne County, 712 F. Supp. 2d

332, 343-344 (M.D. Pa. 2010), this Honorable Court restated the appropriate standard

of review for assessing a motion to dismiss pursuant to Fed. R.Civ.P. 12(b)(6).

Specifically, the Reisinger court acknowledged the analysis established by the United

States Supreme Court in Bell Atlantic Corp. v. Twombly, 550 U.S. 433 (2007), and

Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937 (2009).            In accordance with the

Supreme Court precedent, in order "to survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, 'to state a claim that relief is plausible

on its face’.” Iqbal, 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 570). In Twombly,

the court emphasized that "only a complaint that states a plausible claim for relief

survives a motion to dismiss." Id. at 1950.

       Moreover, the Twombly court noted that "[d]etermining whether a complaint

states a plausible claim for relief  will be a context-specific task that requires the

reviewing court to draw upon its judicial experience and common sense." Id. (citations


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omitted). In McTernan v. City of York, 577 F.3d 521, 530, (3d Cir. 2009), the Third

Circuit noted that it has repeatedly discussed the importance of Twombly and Iqbal, and

that these decisions provide a "roadmap" for district courts presented with motions to

dismiss for failure to state a claim. As articulated by the court in Reisinger, the roadmap

may be properly described as follows:          district courts should conduct a two-part

analysis. First, the factual and legal elements of the claim should be separated. The

district court must accept all of the complaint's well-pled facts as true but may disregard

any legal conclusions. See Iqbal, 129 S. Ct. at 1949. Second, the district court must

then determine whether facts alleged in the complaint are sufficient to show that the

plaintiff has a "plausible claim for relief." Id. at 1950. In other words, a complaint must

do more than allege a plaintiff's entitlement to relief. A complaint has to "show" such an

entitlement with facts. See Phillips v. Co. of Allegheny, 515 F. 3d 224, 234-35 (3d Cir.

2008). As the Supreme Court noted in Iqbal, "[w]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged – but has not 'shown' – 'that the pleader is entitled to relief’.” Iqbal, 129 S. Ct. at

1949.

        This plausibility determination involves a context-specific task that requires the

reviewing court to draw upon its judicial experience and common sense. Id. Fowler,

578 F. 3d at 210-11. Based upon the foregoing, the Third Circuit has made it clear that

conclusory allegations are not entitled to the same deference as well-pled facts. In

other words, this Honorable Court is not "bound to accept as true a legal conclusion

couched as a factual allegation."       Guirguis v. Movers Specialty Services, Inc., No.

09-1104, 2009 WL 3041992, at p. 2 (3d Cir. Sept. 24, 2009) (quoting Twombly, 550



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U.S. at 555 (not precedential).)

        Against the backdrop of this well-established precedent, Moving Defendants

submit that the Eighth and Fourteenth Amendment claims asserted in Plaintiff’s

Complaint against them should be dismissed with prejudice because Plaintiff has failed

to plead facts sufficient to state the high standard associated with claims arising from

police pursuits against either Moving Defendant and has failed to state a claim upon

which relief can be granted. Alternatively, the state of the law existing at the time of

Plaintiff’s arrest was not so clearly established so as to place Officer Wiegand on notice

that his conduct would violate Plaintiff’s constitutional rights. Finally, Defendants assert

that Plaintiff has failed to state a claim against East Lampeter Township as a matter of

law.

        1.    Plaintiff's Claims Are Properly Analyzed Under the Fourteenth
              Amendment

        As a preliminary matter, Defendants recognize the Plaintiff attempts to assert

claims against all of the individually named defendants under both the Fourth and

Fourteenth Amendments.       See Doc. 40. To the extent the Plaintiff asserts that his

excessive force claims should be analyzed under the Fourth Amendment, Moving

Defendants agree. However, under the facts of this case, the police pursuit claims

should be analyzed under the Fourteenth Amendment’s substantive due process clause

and not upon the Fourth Amendment. As a general rule, a court must discern whether a

more particularized amendment applies rather than the generalized notion of due

process. Albright v. Oliver, 510 U.S. 266, 273 114, S.Ct. 807 (1994) (citing Graham v.

Connor, 490 U.S. 386, 395 (1989). In most contexts, as in the instant case, allegations

in a police pursuit case are properly analyzed under the substantive due process clause

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because mere pursuit does not involve a "seizure" for purposes of the Fourth

Amendment. See, contra, Scott v. Harris, 550 U.S. 372, 376, 127 S.Ct. 1769, (2007)

(involving a seizure by police as part of a police vehicle pursuit).      Absent a Fourth

Amendment seizure, claims of constitutional derivation arising from police pursuits are

analyzed through the lens of the substantive due process clause. County of Sacramento

v. Lewis, 523 U.S. 833, 845, 118 S.Ct. (1998) (analyzing the claim of an injury to a

bystander as part of a police pursuit under the Fourteenth Amendment substantive due

process.)

      In the instant case, Plaintiff alleges no facts to support a claim that the pursuit at

issue involved a seizure committed by Moving Defendants. Instead, Plaintiff alleges

that Officer Wiegand “drove in an aggressive manner.” Doc. 40 at Paragraph 12.

Moving Defendants concede that Plaintiff alleges that he was subjected to spike strips

set down in his path by other Defendants. Id at Paragraphs 20-21. Further, Plaintiff

alleges that another Defendant made contact with his vehicle causing it to spin 180°. Id

at Paragraph 28. However, no such allegation is made with respect to Officer Wiegand.

Just as importantly, none of these efforts resulted in a Fourth Amendment Seizure as

Plaintiff candidly concedes that after the vehicular pursuit had terminated, he fled on

foot. Id. at Paragraph 30. Accordingly, Plaintiff's claims against Officer Wiegand arising

from the pursuit are properly analyzed under the Fourteenth Amendment.

      As a sister court properly observed in Carroll v. Borough of State College, 854

F.Supp. 1184, 1190 (M.D.Pa. 1994), only in cases in which the police took direct action

to halt a fleeing vehicle in an abrupt manner do the Fourth Amendment protections

come into play. See also, California v. Hodari D., 499 U.S. 621, 111 S.Ct. 1547 (1991)



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(a show of authority by police which is ignored by the fleeing suspect does not

constitute a "seizure") and Michigan v. Chesternut, 486 U.S. 567, 572-76, 108 S.Ct.

1975 (1988) (police car driving parallel to individual fleeing on foot) does not constitute a

"seizure" under the Fourth Amendment. In light of the foregoing, this case should be

analyzed under the Fourteenth Amendment due process clause.

       As noted above, the individual Defendants assert that Plaintiff has failed to state

a due process claim as a matter of law and assert they are entitled to qualified

immunity. In cases such as the instant case, the Court has discretion to consider in

what order it addresses the issue whether a plaintiff has shown a deprivation of the

constitutional right and the issue whether that right is clearly established at the time of

the alleged violation. See Pearson v. Callahan, 555 U.S. 223, 236, 129 S.Ct. 808

(2009). However, in Saucier v. Katz, 533 U.S. 194, 121 S.Ct. 1251 (2001) the Supreme

Court utilized the traditional principal of demonstrating whether a constitutional right

exists in the first place. This approach has the advantage of expediency because if the

court determines that no constitutional claim has been stated, a defendant's right to

qualified immunity will no longer require the court's attention.

              2.     Plaintiff’s Failure to Plead facts to support an Intent to Harm is
                     Fatal to the Substantive Due Process Claim Contained in
                     Count II of the Complaint Given the Rapidly Evolving Nature of
                     the Pursuit

       Under the Fourteenth Amendment due Process analysis, when a municipal

officer is alleged to have engaged in abusive action, "only the most egregious official

conduct can be said to be arbitrary in the constitutional sense. County of Sacramento v.

Lewis, 523 U.S. 833 at 846 (1998). Without question, liability for negligently inflicted

harm is beneath the relevant constitutional threshold. Id. at 848. To create liability, the

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conduct of the individual officers must be "so ill-conceived or malicious that it 'shocks

the conscious'". Miller v. City of Phila., 174 F.3d 368, 374 (3d Cir. 1999).

       Unquestionably, a seminal case articulating the appropriate analysis for a due

process violation brought pursuant to § 1983 is Lewis, Supra. In this case, the Supreme

Court was confronted with a Section 1983 claim asserted by representatives of the

estate of an innocent passenger killed during the course of a police pursuit of a driver

for a traffic violation. The Lewis Court was faced with a police pursuit of a driver of a

motorcycle. The motorcycle operator was driving at a high rate of speed with a 16-year-

old passenger on the back. The pursuing officer activated the patrol car lights and

ordered the driver to stop. The officer pulled his patrol car next to a fellow officer's

patrol car in order to block the motorcycle's escape.          However, the driver of the

motorcycle refused to pull over and maneuvered between the two patrol cars

commencing a high-speed chase. A fellow officer then switched on emergency lights

and siren and began to pursue.            The pursuit continued through a residential

neighborhood. At times, the motorcycle reached speeds of 100 miles per hour with the

patrol car following at a close distance.       The pursuit ended when the motorcycle

attempted a sharp turn but tipped over and the police officer was unable to stop in time

to avoid striking the motorcycle resulting in the death of the passenger.

       As in the instant case, the plaintiff in Lewis asserted that her substantive due

process rights were violated and sued the officers pursuant to Section 1983. In finding

in favor of the officers in question, the Lewis Court explained that the chase itself was

not the fault of the officers. Instead, the Court explained the officer:

              “was faced with a course of lawless behavior for which the police were not
              to blame. They had done nothing to cause [the pursued driver's] high

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              speed driving in the first place, nothing to excuse his flouting of the
              commonly understood law enforcement authority to control traffic, and
              nothing (beyond a refusal to call off the chase) to encourage him to race
              off through traffic at great neck speed forcing other driver's out of their
              travel lanes.      [The driver's] outrageous behavior was practically
              instantaneous and so was [the officer's] instinctive response. While
              prudence would have repressed the reaction, the officer's instinct was to
              do his job as a law enforcement officer, not to induce [the pursued driver's]
              lawlessness, or to terrorize, cause harm or to kill. Prudence, that is, was
              subject to counter-veiling enforcement considerations, and while [the
              officer] exaggerated their demands, there is no reason to believe that they
              were tainted by an improper or malicious motive on his part."

Id. 523 U.S. at 855

       These facts are more extreme than those in the instant case. In the instant case,

unlike in Lewis, there is no allegation that any direct injury was foisted upon Plaintiff

during the Pursuit. Instead, Plaintiff alleges that he was subjected to excessive force

after he fled on foot requiring multiple efforts to bring him into custody including use of a

taser. Id at Paragraph 30. Indeed, Plaintiff expressly denies that he was injured as a

function of the Pursuit when he claims that “medical records were falsified under heavy

police influence to make the Plaintiff’s injuries look like they were caused by a motor

vehicle accident.” Id. at Paragraph 45.

       The Lewis Court made it clear that the level of conduct required to show a

violation of the innocent passenger's substantive due process rights was beyond

recklessness or even deliberate indifference to the life of the passenger and

required a showing of a purposeful intent to harm unrelated to the legitimate object

of arrest which it found was not met in that case. 523 U.S. at 836.

       In the ensuing years, the Third Circuit has had opportunities to interpret Lewis.

For example, in Davis v. Township of Hillside, 190 F.3d 167, (3d Cir. 1999), the Court of

Appeals applied Lewis and applied a substantive due process analysis to a case

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involving physical contact between the police vehicle and the plaintiff’s vehicle in order

to secure custody of the plaintiff. After reviewing Lewis, the Davis Court upheld the

denial of a substantive due process claim brought by an innocent bystander injured

during a police vehicular pursuit.

       Once again, in a case involving facts even more unfortunate than those in this

instance as the injured party was an innocent bystander, the vehicular pursuit in Davis

occurred when a police officer attempted to pull over the driver of a vehicle. Id. 190

F.3d at 169. As in the instant case, the driver refused to stop resulting in pursuit.

Furthermore, as in the instant case, the police officer in Davis ended the pursuit utilizing

a "bump procedure" similar to that alleged by Plaintiff here, that involved intentionally

hitting the rear of the driver's vehicle with his police cruiser. This maneuver caused the

driver to hit his head on the steering wheel, pass out, which in turn caused the driver's

vehicle to spin out of control striking two other vehicles, one of which hit the plaintiff. Id.

Applying the Lewis decision to the facts before it, the Third Circuit found in favor of the

officers as follows:

              "there is no evidence that their actions were tainted by an improper
              or malicious motive.

Id. at 171 (emphasis added.)

       Notably, a cornerstone of Plaintiff's Amended Complaint appears to be that the

pursuit should not have been undertaken in the first place or that, once begun, it should

have been discontinued allowing Plaintiff to go free. Plaintiff claims that had the police

stopped their pursuit, the injury that brings about the Section 1983 case could have

been prevented. However, the Supreme Court has, on multiple occasions, held the

decision that is the cause of the risk to the driver himself and innocent bystanders is not

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the decision to pursue made by law enforcement, but the decision made by the fleeing

suspect himself intentionally placing himself and others in danger by unlawfully

engaging in reckless flight.    See Lewis 528 U.S. at 855, Scott, 550 U.S. at 384,

Plumhoff v. Rickard, 134 S.Ct. 212 (2014) (Applying a Fourth Amendment analysis to

officers who shot into a fleeing vehicle to prevent further threat to innocent bystanders).

       In Scott, Supra, the Supreme Court squarely rejected the notion that the officer

should be held to account for injuries that befell a chase that could easily have been

prevented by simple submission to police authority as follows:

              "[B]ut wait, says respondent: couldn't the innocent public equally have
              been protected, and the tragic accident entirely avoided, if the police had
              simply ceased their pursuit?

                                          *      *      *
              First of all, there would have been no way to convey convincingly to
              respondent that the chase was off and he was free to go. Had respondent
              looked in his rear-view mirror and seen the police cars deactivate their
              flashing lights and turn around, he would have no idea whether they were
              truly letting him get away, or simply devising a new strategy for capture.
              Perhaps the police knew a shortcut he didn't know, and would reappear
              down the road to intercept; or perhaps they were setting up a roadblock in
              his path. Given such uncertainty, respondent might have been just as
              likely to respond by continuing to drive recklessly as by slowing down and
              wiping his brow."

Id. 550 U.S. F. 385.

       Along these same lines, the Supreme Court in Scott indicated that it was "loathe

to lay down a rule requiring police to allow fleeing suspects to get away whenever they

drive so recklessly that they put other people's lives in danger." Id. The Supreme Court

held that such a rule would create "perverse incentives encouraging fleeing motorists to

accelerate to 90 miles per hour or more to ensure an escape from authority. The

Supreme Court concluded that the constitution never extended such an "invitation to



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impunity-earned by recklessness." Id. 550 U.S. 385-386. As noted above, Plaintiff has

pled guilty to fleeing and eluding police pursuit. See Exhibit A. Accordingly, Plaintiff

should not be heard to complain that his own conceded reckless flight and the reckless

driving that was concomitant thereto was the fault of anyone but himself.

       Defendants acknowledge that Plaintiff, like the plaintiff in Lewis, relies upon East

Lampeter Departmental policy or the lack thereof in support of his claims. Doc. 40

Claims for Relief at Paragraph 4. In so doing, Plaintiff seeks to elevate departmental

policy and state law with respect to driving of emergency vehicles to a federal

constitutional standard. However, both the Supreme Court in Lewis and the Third Circuit

in   Davis   were    categorically   unconvinced     by    such    an   argument.       Both

Lewis and Davis involved alleged violations of police policies and procedures. Both

decisions found such allegations to be insufficient to meet the federal constitutional

standard for a substantive due process claim.

       In Davis, the Court of Appeals relied upon Lewis when it explained why reliance

upon departmental policy to establish unconstitutional conduct on the part of the

defendant officers was unavailing to the plaintiff. Specifically, the Davis Court observed

that in Lewis, the court of appeals had reversed summary judgment for the defendant

officer, finding a triable issue of fact because he had apparently disregarded the

Sacramento County Sheriff's Department's General Order on police pursuits.              The

Supreme Court reversed, holding that high-speed chases with no intent to harm

suspects physically or to worsen their legal plight do not give rise to liability under the

Fourteenth Amendment. According to the Third Circuit in Davis, Lewis squarely refuted

the plaintiff’s contention that an officers’ violation of police department regulations,



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which might be probative of recklessness or conscious disregard of plaintiff’s safety,

suffices to meet the shocks-the-conscience test under the due process clause. Id. 190

F.3d at 170 (internal quotations and citations omitted).

       In Lewis the Court stated: "[r]egardless of whether [the defendant's] behavior

offended the reasonableness held up by tort law or the balance struck in law

enforcement's own codes of sound practice, it does not shock the conscience, and

petitioners are not called upon to answer for it under § 1983." 523 U.S. at 855. Thus, to

the extent that Plaintiff’s due process arguments are based upon alleged or perceived

violations of Lewistown Departmental policies or procedures, these claims must fail as a

matter of law. Id.

       Based upon the foregoing, Defendants respectfully submit that Plaintiff’s pursuit

claims should be analyzed under the Fourteenth Amendment Due Process standard

and that under this standard, Plaintiff has failed to state a claim for a substantive due

process violation upon which relief can be granted.        Certainly, no facts pled in the

Complaint are sufficient to satisfy the rigid standards set forth by the Supreme Court for

the analysis of a substantive Due Process claim in the context of a police pursuit. This

analysis assures that only circumstances in which a plaintiff can plausibly contend that

the officers purpose was to cause harm unrelated to the legitimate object of arrest is

there a sufficient conduct necessary to "shock the conscience" that is the necessary

prerequisite to a substantive due process claim. See Lewis, 523 U.S. at 836.

       Accordingly, it is respectfully submitted that Plaintiff has failed to state a claim

against the individual officers and Count II of Plaintiff’s Complaint should be dismissed

with prejudice as a matter of law.



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             3.     Plaintiff’s Claims Arising from the Pursuit Should Fail if
                    Analyzed Under the Fourth Amendment Reasonableness
                    Standard.

      Even if this Honorable Court applies a Fourth Amendment analysis, Plaintiff has

failed to state a claim upon which relief can be granted arising from the Police Pursuit.

In Scott v. Harris, 550 U.S. 372, 376, 127 S. Ct. 1769, (2007), the Supreme Court

applied a Fourth Amendment analysis to a Police Pursuit. In Scott, the police officer

terminated a high-speed pursuit of respondent's car by applying his push bumper to the

rear of the vehicle, causing it to leave the road and crash. Respondent was rendered

quadriplegic. He filed suit under 42 U.S.C. § 1983 alleging, inter alia, the use of

excessive force resulting in an unreasonable seizure under the Fourth Amendment. In

determining the reasonableness of the manner in which the seizure was effected, the

Scott Court observed that it "must balance the nature and quality of the intrusion on the

individual's Fourth Amendment interests against the importance of the governmental

interests alleged to justify the intrusion." United States v. Place, 462 U.S. 696, 703, 103

S. Ct. 2637, 77 L. Ed. 2d 110 (1983).

      The Scott Court observed that the governmental interest in ensuring public safety

was of paramount importance. As in the instant case, nowhere does Plaintiff plead facts

to support an alternate conclusion. Thus, in judging whether Defendant Wiegand’s

actions were reasonable, This Honorable Court must “consider the risk of bodily harm

that [Wiegand’s] actions posed to [Shields] in light of the threat to the public that

[Wiegand] was trying to eliminate.” Id 550 U.S. at 383. As in Scott, there is no obvious

way to quantify the risks on either side. However, it is clear from the allegations of

Plaintiff’s Complaint, neither lights nor multiple Police Cruisers, nor “spike strips” were



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sufficient to bring Plaintiff into compliance with a lawful order to pull over. Accordingly,

like the motorist in Scott, Plaintiff’s reckless decision to engage in a high-speed

extended chase with, by his own admission, impaired breaks while he himself was

impaired constituted an “imminent threat to the lives of any pedestrians who might have

been present, to other civilian motorists, and to the officers involved in the chase.” Id.

       Moving Defendants respectfully submit that unlike Scott, none of Officer

Wiegand’s actions, even if Plaintiff’s allegation that he was “driving aggressively” is

given credit as an allegation of fact, posed a high likelihood of serious injury or death to

Plaintiff. Certainly, nothing Officer Wiegand is alleged to have done during the course of

the Pursuit presented anywhere near the certainty of death or serious injury posed by,

“say, shooting a fleeing felon in the back of the head, See Garner, Supra at 4, 105 S.

Ct. at 6094, or shooting the motorist as it attempted to escape. See Plumhoff v. Rickard,

134 S.Ct. 212 (2014). Scott, 550 U.S. at 384.

       Thus, as suggested by the Scott Court, in determining the reasonableness of

Officer Wiegand’s alleged conduct, this Honorable Court must weigh:

       the perhaps lesser probability of injuring or killing numerous bystanders against
       the perhaps larger probability of injuring or killing a single person” We think it
       appropriate in this process to take into account not only the number of lives at
       risk, but also their relative culpability. It was respondent, after all, who
       intentionally placed himself and the public in danger by unlawfully engaging in
       the reckless high-speed flight that ultimately produced the choice between the
       two evils that [Weigand] confronted. Multiple police cars with blue lights flashing
       and sirens blaring had been chasing respondent for nearly 10 miles but he
       ignored their warning to stop. By contrast, those who might have been harmed
       had [Wiegand] not taken the action he did were entirely innocent. We have little
       difficulty in concluding it was reasonable for [Wiegand] to take the action he did.


Scott, 550 U.S. at 384.




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       The facts pled in Plaintiff’s Complaint demonstrate that the decision to pursue

was immediate and visceral. It was a decision that needed to be made in a matter of

seconds, not hours or minutes.       Moreover, as noted above, should this Honorable

Court’s analysis focus upon the decision to break-off the pursuit, the Supreme Court

has given clear guidance as to which party bears the responsibility for that decision and

leaves it squarely in the hands of the fleeing party who has willfully ignored the officer's

exercise of constitutionally fundamental police powers. Scott, 550 U.S. 385-386.

Notable in this regard, Plaintiff concedes that the officers had lights activated at all times

relevant hereto. See Doc 40 at Paragraph 8.

       Finally, as noted by the Third Circuit in Davis, “Nothing in Lewis suggests that

courts are free to second-guess a police officer's decision to initiate pursuit of a suspect

so long as the officers were acting "in the service of a legitimate governmental

objective," Id. 190 F. 3rd at 167 citing Lewis, 118 S.Ct. at 1716, Thus, it is respectfully

submitted that even under a Fourth Amendment analysis, Plaintiff has failed to state a

claim upon which relief can be granted.

              B.     The Law Pertaining to Police Officer Culpability for Police
                     Pursuits was Not So Clearly Established so as to Deprive
                     Individual Officers of Qualified Immunity as a Matter of Law.

       Even if this Honorable Court is unpersuaded that Plaintiff has failed to state a

substantive due process claim as a matter of law, the officer Defendants are entitled to

qualified immunity. According to our Third Circuit, a right is clearly established in

limited circumstances as follows:

              A right is clearly established when the law is "sufficiently clear that
       every reasonable official would have understood that what he is doing
       violates that right." Richle v. Howards, 566 U.S. 658, 664, 132 S.Ct. 2088,
       182 L.Ed 2d 985 (2012)… That does not require a prior precedent with

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       indistinguishable facts, "but existing precedent must have placed a
       statutory or constitutional question beyond debate. Ashcroft v. Al-Kidd,
       563 U.S. 731, 741, 131 S.Ct. 2074, 179 L.Ed 2d 1149 (2011). Existing
       precedent is sufficient to place a constitution question beyond
       debate and to defeat qualified immunity only if it is "controlling
       authority in [the relevant] jurisdiction," Wilson v. Layne, 526 U.S. 603,
       617, 119 S.Ct. 1692, 143 L.Ed 2d 818 (1999) or if "a robust consensus
       of cases of persuasive authority" in the court of appeals" has settled
       the question. Mammaro v. M.J. Div of Child Prot. & Permanency, 814
       F.3d 164, 169 (3rd Cir 2016) (quoting Taylor v. Barkes, 135 S.Ct. 2042,
       2044, 192 L.Ed 2d 78 (2015). Id 905 F.3d at 719.

       The Third Circuit cautioned that when courts fail to take into consideration,

particularized facts of a case, they permit plaintiff's "to convert the rule of qualified

immunity… into a rule of virtually unqualified liability simply by alleging a violation of

extremely abstract rights. Id. (citing White v. Pauly, 137 S.Ct. 548, 196 L. Ed 2d 463

(2017). Stated plainly, the Third Circuit has clearly announced that officers are subject

to liability for conduct proscribed by established law only when both the theory of

liability and its application to the established facts are sufficiently plain that the legal

question of liability is "beyond legitimate debate" can plaintiff defeat a qualified immunity

defense. Kendra v. Schroeter, 876 F.3d 424, 432, 448 (3rd Cir 2017).

       The Third Circuit has acknowledged that both the Eighth and Ninth Circuits

embrace the "intent to harm standard" for all police pursuit cases regardless of whether

an emergency existed at the time of the pursuit. In light of the foregoing, Officer

Wiegand respectfully submits that the pursuit in question involved precisely the kind of

split-second decision-making in pursuit of a “paramount” governmental interest.

Accordingly, Officer Weigand is entitled to qualified immunity as a matter of law and

requests that this Honorable Court enter an Order dismissing Plaintiff's Fourth and/or

Fourteenth Amendment claims arising from the pursuit because Plaintiff has failed to



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plead any fact that would place officer Wiegand upon notice that his conduct during the

course of the pursuit placed Plaintiff’s constitutional rights in jeopardy.

              C. PLAINTIFF'S CLAIMS AGAINST EAST LAMPETER TOWNSHIP
                 MUST FALIL AS A MATTER OF LAW

       Plaintiff purports to state a claim in his Amended Complaint that East Lampeter

Township violated his constitutional rights as follows:

       The actions of Defendant East Lampeter Township acquiesced in their Police
       Officer’s misconduct by failing to adequately train police officer Ryan Wiegand as
       to lawful use of force policies, vehicular pursue policies and arrest procedure.”

Doc 40 at “Claims for Relief” at Paragraph 4. The only other Paragraph in Plaintiff’s

Amended Complaint referencing East Lampeter Township is found in Paragraph 8,

wherein Plaintiff alleges that the Township is a “municipality whose responsibility is to

provide adequate training and valid certifications for their police officers.” Id.

       As with all of Plaintiff’s claims, Plaintiff’s municipal and supervisory claims

"require a showing, rather than a blanket assertion, of entitlement to relief that rises

above the speculative level." McTernan v. City of York, 564 F.3d 636, 658 (3d Cir.

2009) (internal quotation marks omitted). To evaluate whether a plaintiff has met this

standard, the Third Circuit has provided guidance, consistent with the Rule 8 pleading

standard, as follows:


       First, the court must take note of the elements a plaintiff must plead to state a
       claim. Second, the court should identify allegations that, because they are no
       more than conclusions, are not entitled to the assumption of truth. Finally,
       where there are well-pleaded factual allegations, a court should assume their
       veracity and then determine whether they plausibly give rise to an entitlement for
       relief.




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Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (citations, footnote, and

internal quotation marks omitted). The court must “also disregard ‘naked assertions

devoid of further factual enhancement ’and ‘threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements.’” Id. at 131. (Quoting Iqbal

556 U.S. At 678).

       A municipality may not be held liable under section 1983 based solely on the

conduct of its employees. See Monell v. Dep't of Soc. Servs. of N.Y., 436 U.S. 658, 691,

98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978). Instead, "[w]hen a suit against a municipality is

based on § 1983, the municipality can only be liable when the alleged constitutional

transgression implements or executes a policy, regulation, or decision officially adopted

by the governing body or informally adopted by custom." McTernan, 564 F.3d at

657 (alteration in original) (internal quotation marks omitted). "To satisfy the pleading

standard, [a plaintiff] must identify a custom or policy, and specify what exactly that

custom or policy was." Id. at 658. If a plaintiff alleges that he or she was harmed by a

custom, as opposed to a formally enacted policy, "[c]ustom requires proof of knowledge

and acquiescence by the decisionmaker." Id. Where a complaint lacks alleged “facts

showing any particular or specific policy or custom, or how it allowed the claimed

constitutional violation to occur, identifying the policymaker or decisionmaker, or

showing prior notice through a pattern of similar constitutional violations” the complaint

is inadequate to state a municipal liability claim. Wood v. Williams, 568 F. App’x 100,

105 (3rd Cir. 2014).

       Here, Plaintiff’s Amended Complaint contains no factual reference to any conduct

on the part of East Lampeter Township much less to the existence of a specific formal



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policy. Similarly, nothing in Plaintiff’s Amended Complaint states “exactly what that

custom or policy was.” McTernan, 564 F.3d at 658.          Similarly, Plaintiff’s Amended

Complaint contains no factual reference to any causal connection between any specific

Policy and Plaintiff’s alleged constitutional harm.

       Local governments are responsible only for "their own illegal acts," and "are not

vicariously liable . . . for their employees' actions." Connick V. Thompson, 563 U.S. 51,

131 S. Ct. 1350, 179 L. Ed. 2d 417 (2011). A municipality's culpability for a deprivation

of rights is at its most tenuous when a claim turns on a failure to train." Id. Where, as

here, Plaintiff seeks to impose liability against East Lampeter Township based on its

failure to train, "liability under Section 1983 requires a showing that the failure amounts

to 'deliberate indifference' to the rights of persons with whom those employees will

come in contact." Carter v. City of Phila., 181 F.3d 339, 357 (3d Cir. 1999) (quoting City

of Canton, Ohio v. Harris, 489 U.S. 378, 388, 109 S. Ct. 1197, 103 L. Ed. 2d 412

(1989)).

       The "deliberate indifference" standard is "a stringent standard of fault, requiring

proof that a municipal actor disregarded a known or obvious consequence of his

action." Brown, 520 U.S. at 410. Ordinarily, this requires a plaintiff to show "[a] pattern

of similar constitutional violations by untrained employees." Connick, 563 U.S. at 62.

Indeed, in Connick, the Supreme Court announced the importance of proof of actual

prior notice of the violations before a municipality can be established on the basis of a

custom as follows:


       [A] [p]olicymaker's continued adherence to an approach that they know or should
       know failed to prevent tortious conduct by employees may establish the
       conscious disregard for the consequence of their actions—the deliberate

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       indifference—triggering municipal liability. Without notice that a course of training
       is deficient in a particular respect, decision makers can hardly be said to have
       deliberately chosen a training program that will cause violations of
       constitutional rights.

Id. (Emphasis in original).

       Examination of Plaintiff’s Amended Complaint reveals that Plaintiff has done

nothing to plead facts sufficient to establish liability on the part of East Lampeter

Township. Plaintiff has failed to plead any facts to support a pattern of similar

constitutional violations that could arguably place Lewisburg on notice of a practice that

was giving rise to constitutional injuries. Similarly, nothing in Plaintiff’s Amended

Complaint demonstrates proof of knowledge and acquiescence by the policymaker of a

custom that occurs with sufficient frequency to have the force of law. On the contrary,

Plaintiff barely mentions East Lampeter Township and certainly fails to allege any facts

sufficient to establish liability thereon. The cases cited above unequivocally establish

that such allegations fail to state a claim for Monell liability. Accordingly, Plaintiff’s

claims against East Lampeter Township must fail as a matter of law. The absence of

any viable claim against the Township precludes any claim for punitive damages.

However, Plaintiff’s claim for punitive damages against the Township fails for the

independent reason that such claims are not available against municipal entities.

Newport v. Fact Concerts, 453 U.S. 247 (1981).


              D.     PLAINTIFF’S CLAIMS ASSERTED UNDER THE EIGHTH
                     AMENDMENT FAIL TO STATE A CLAIM AS A MATTER OF
                     LAW

       The Eight Amendment provides that "[e]excessive bail shall not be required, nor

excessive fines imposed, nor cruel and unusual punishment inflicted." U.S. Const.



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amend. VIII. In his Amended Complaint, Plaintiff includes an unspecified claim that

his Eighth Amendment rights were violated. However, nothing in Plaintiff’s Amended

Complaint even remotely addresses the issue of excessive bail or fines imposed.

Accordingly, provision of the Eighth Amendment with even a pretense of applicable of

the two Plaintiff’s claims is the prohibition against “cruel and unusual punishment.”

However, given the few factually supported specific claims raised by Plaintiff in his

Amended Complaint, Moving Defendants must read Plaintiff’s Amended Complaint to

mean that he is challenging the police pursuit and the excessive force to which he was

allegedly subjected, under the Eighth Amendment. As discussed below, Plaintiff’s

reliance upon the Eighth Amendment for constitutional redress of the harms allegedly

inflicted upon him is misplaced.

      The Cruel and Unusual Punishment Clause of the Eighth Amendment “was

designed to protect those convicted of crimes," Ingraham v. Wright, 430 U.S. 651, 664,

97 S. Ct. 1401, 51 L. Ed. 2d 711 (1977), and, thus, its protections apply "only after the

State has complied with the constitutional guarantees traditionally associated with

criminal prosecutions." Id. at 671 n.40. Accordingly, to the extent that Plaintiff’s Eighth

Amendment Claim is intended to protest the police pursuit that is the subject of his

Amended Complaint or the excessive force to which he alleges he was subjected during

the course of his arrest, he has employed the wrong constitutional theory and has failed

to state a claim that implicates any Eighth Amendment interests. See City of Revere v.

Massachusetts Gen. Hosp., 463 U.S. 239, 244, 103 S. Ct. 2979, 77 L. Ed. 2d 605

(1983)("[T]he State does not acquire the power to punish with which the Eighth

Amendment is concerned until after it has secured a formal adjudication of guilt.")



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(alteration in the original). Allegations of unconstitutional actions that occurred at or

before     the   time   of   trial   are   insufficient    to   state   an    actionable Eighth

Amendment violation. See Palma v. Atlantic County, 53 F. Supp. 2d 743, 754 (D.N.J.

1999) ("[T]o the extent that [plaintiff] seeks to allege a §1983 claim arising out of

Defendants' actions prior to his conviction, [plaintiff] fails to state a cognizable claim

under the Eighth Amendment"). In view of the foregoing, Plaintiff’s Eighth Amendment

claims must fail as a matter of law.

IV.      CONCLUSION

         In light of the arguments and authorities cited above, Moving Defendants

respectfully request that this Honorable Court enter an Order dismissing all Fourth and

Fourteenth Amendment claims arising from the police pursuit for failure to state a claim

upon which relief can be granted. Furthermore, Moving Defendants seek an Order

dismissing all Plaintiff’s claims against East Lampeter Township for failure to state a

claim upon which relief can be granted. Finally, Defendant seeking Order of Court

dismissing Plaintiff’s claims under the Eighth Amendment for failure to state a claim

upon which relief can be granted. It is respectfully submitted that in light of the

allegations contained in Plaintiff’s Amended Complaint, that all dismissals be with

prejudice.

                                                   MARGOLIS EDELSTEIN

Date: April 12, 2021                        By:    ________________________
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 12th day of April 2021, a copy of the foregoing

document was served upon the following via ECF Notification and first-class mail:




                               Solishum Sumer Shields
                                        #75319
                                Chester County Prison
                                501 S. Wawaset Road
                               West Chester, PA 19382
                                    (Pro Se Plaintiff)




                                               MARGOLIS EDELSTEIN


                                        By:    ________________________________
                                               Angela M. Gayman, CRP
                                               Legal Assistant




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